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                     THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 NATIONAL LIABILITY & FIRE                     :
 INSURANCE COMPANY                             :
                                               :
                       Plaintiff               :
 v.                                            : Civil Action No. 2:18-cv-01129-NBF
                                               :
 BRIMAR TRANSIT, INC.                          :
                                               :
                       Defendant,              :
 and                                           :
                                               :
 PITTSBURGH PUBLIC SCHOOL                      :
 DISTRICT                                      :
                                               :
                       Intervenor-Defendant    :



                                           ORDER

       AND NOW, on this _____ day of ______, 2022, upon consideration of Plaintiff National

Liability & Fire Insurance Company’s Motion for Summary Judgment Against Defendants Brimar

Transit, Inc. and Pittsburgh Public School District, and any opposition thereto, it is hereby

ORDERED that said Motion for Summary Judgment is GRANTED.


       It is further ORDERED that Defendant Pittsburgh Public School District’s Counterclaim

against Plaintiff National Liability & Fire Insurance Company is DISMISSED.


       It is further ORDERED that there is no coverage under the Policy issued by Plaintiff

National Liability & Fire Insurance Company for the Underlying Action and therefore Plaintiff

National Liability & Fire Insurance Company is entitled to reimbursement of the defense costs

(including attorney’s fees) and all monies paid in the settlement on behalf of Plaintiffs in the

Underlying Action.
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                                        BY THE COURT:



                                        ____________________________
                                        The Honorable Nora Barry Fischer




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